       Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
MICHIGAN WELFARE RIGHTS                 )
ORGANIZATION, et al.                    )
                                        )
           Plaintiffs,                  )
                                        ) No. 1:20-cv-3388-EGS
v.                                      )
                                        )
                                        )
 DONALD J. TRUMP, et al.,               )
                                        )
           Defendants.                  )
                                        )

     REPUBLICAN NATIONAL COMMITTEE’S REPLY IN SUPPORT OF ITS
       MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404(a)
             Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 2 of 18




                                                     TABLE OF CONTENTS

                                                                                                                                          Pages

I.         Introduction ......................................................................................................................... 1

II.        Argument ............................................................................................................................ 2
           a.         Plaintiffs’ Actual Allegations State Almost No Connections Between this Case
                      and Washington, D.C. ............................................................................................. 3

           b.         The Private Interest Factors Favor Transfer ........................................................... 5
                      i.     No Significant Events Giving Rise to Plaintiffs’ Claims Occurred in
                              Washington, D.C............................................................................................ 5
                      ii.    The Convenience of the Parties and Witnesses Strongly Supports Transfer .. 9
                      iii. Plaintiffs’ Forum Choice Is Not Entitled To Deference ................................ 11

           c.         The Public Interest Factors Favor Transfer .......................................................... 12

Conclusion .................................................................................................................................... 13




                                                                        i
            Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 3 of 18




                                             TABLE OF AUTHORITIES


Cases                                                                                                                        Pages
Abusadeh v. Chertoff,
  No. 06-2014 (CKK), 2007 WL 2111036 (D.D.C. 2007) ........................................................ 4, 5

Accurso v. Fed. Bureau of Prisons,
  Case No. 17-CV-02626 (APM), 2018 WL 4964501 (D.D.C. Oct. 15, 2018) .................... 7, 8, 9

Aracely, R., et al. v. Nielsen,
  319 F. Supp. 3d 110 (D.D.C. 2018) .......................................................................... 5, 7, 8, 9, 10

Beall v. Edwards Lifesciences LLC,
  310 F. Supp. 3d 97 (D.D.C. 2018) ............................................................................................ 12

Bergmann v. U.S. Dept. of Transp.,
  710 F. Supp. 2d 65 (D.D.C. 2010) .............................................................................. 3, 8, 11, 12

Cameron v. Thornburgh,
  983 F.2d 253 (D.C. Cir. 1993) .................................................................................................... 2

Chung v. Chrysler Corp.,
  903 F. Supp. 160 (D.D.C. 1995) ................................................................................................. 9

Coltrane v. Lappin,
  885 F. Supp. 2d 228 (D.D.C. 2012) ............................................................................................ 2

Dean v. Eli Lilly & Co.,
  515 F. Supp. 2d 18 (D.D.C. 2007) ............................................................................................ 12

Devaughn v. Inphonic, Inc.,
  403 F. Supp. 2d 68 (D.D.C. 2005) .......................................................................................... 2, 3

Garcia v. Acosta,
  393 F. Supp. 3d 93 (D.D.C. 2019) .............................................................................................. 9

Hi Tech Pharmaceuticals, Inc. v. Federal Trade Commission,
  6 F. Supp. 3d 95 (D.D.C. 2013) .................................................................................................. 8

Jalloh v. Underwood,
  300 F. Supp. 3d 151 (D.D.C. 2018) .......................................................................................... 11

Olde Monmouth Stock Transfer Co., Inc. v. Depository Trust & Clearing Corp.,
  485 F. Supp. 2d 387 (S.D.N.Y. 2007) .................................................................................... 4, 5

Pyrocap Int’l. Corp. v. Ford Motor Co.,
  259 F. Supp. 2d 92 (D.D.C. 2003) .................................................................................... 8, 9, 11
           Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 4 of 18




Reiffin v. Microsoft Corp.,
  104 F. Supp. 2d 48 (D.D.C. 2000) ............................................................................................ 11

Winmar Construction, Inc. v. JK Moving & Storage, Inc.,
  291 F. Supp. 3d 88, 93 (D.D.C. 2018). ....................................................................................... 9




                                                                i
            Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 5 of 18




    I.       INTRODUCTION

         This Court should grant the Republican National Committee’s (RNC) Motion to Transfer

and reject Plaintiffs’ attempt to tie this case to Washington, D.C. by mischaracterizing the

Amended Complaint and making brand new factual allegations in their Opposition. As discussed

more fully in the RNC’s memorandum in support of its Motion, a large majority of the

allegations actually pled in the Amended Complaint center in the Eastern District of Michigan.

See RNC’s Mem. in Support of its Mot. to Transfer (“Mem. in Support”), Dkt. No. 21-1 at 5-6,

8-9. Further, the public and private factors heavily favor transfer because (1) Defendants’ choice

of forum, (2) where the claim arose, (3) the convenience of the parties, and (4) the interest in

having local controversies decided at home, all support transfer. Only a single factor—Plaintiffs’

choice of forum—weighs against transfer, but that factor is entitled to little deference here given

the absence of any meaningful connection between this district, Plaintiffs, and Plaintiffs’ claims.

Against this analytical backdrop, the interests of justice and convenience of the parties all favor

transfer.

         Recognizing that the allegations in their Amended Complaint lack any real connection to

Washington, D.C., Plaintiffs fill their Opposition with new allegations never pled in the

Amended Complaint in a last-ditch effort to shift the locus of this case and defeat transfer. For

example, Plaintiffs’ Opposition asserts for the first time that an alleged “conspiracy was

developed in and directed from the District of Columbia.” Plaintiffs’ Response in Opposition to

Defendants’ Mot. to Transfer Venue (“Opposition”), Dkt. No. 23 at 1. This allegation is found

nowhere in the Amended Complaint. Plaintiffs also claim for the first time in their Opposition

that the RNC participated in the conspiracy from its headquarters in Washington, D.C., (in the

middle of a pandemic when the RNC’s headquarters were closed for part of the time) and that

former President Trump committed complained-of acts while residing in Washington, D.C. Id.


                                                1
          Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 6 of 18




The Amended Complaint, however, contains no such allegations. The D.C. Circuit has cautioned

that “[c]ourts in this circuit must … guard against the danger that a plaintiff might manufacture

venue in the District of Columbia.” Cameron v. Thornburgh, 983 F.2d 253, 256 (D.C. Cir.

1993); see also Coltrane v. Lappin, 885 F. Supp. 2d 228, 236 (D.D.C. 2012). The RNC’s Motion

is based upon the allegations actually in the Amended Complaint, and the Court should reject

Plaintiffs’ sham pleading-by-Opposition approach that seeks to restyle their Amended Complaint

to avoid the transfer compelled by the facts actually alleged.

         Plaintiffs’ characterization of the RNC’s Motion as an “effort to forum shop” is baseless

and distracts from the real issue here—namely, that Plaintiffs forum-shopped by filing this

lawsuit in a legally and factually inapt forum. The private and public interest factors analyzed

based on the allegations in Plaintiffs’ Amended Complaint strongly favor transfer. And

Plaintiffs’ attempt to backdoor new allegations into their Amended Complaint via their

Opposition only underscores the validity of the RNC’s transfer arguments. In sum, the Court

should transfer this case to the Eastern District of Michigan in the interest of justice and for the

convenience of the parties.

   II.      ARGUMENT

         Plaintiffs never dispute that this case could have been brought in the Eastern District of

Michigan. Instead, they spill much ink in their Opposition reconstruing and reconstructing the

Amended Complaint in a futile effort to shift the locus of this case to Washington, D.C. See, e.g.,

Opposition at 3-5. By contrast, the RNC’s Motion acknowledges the nationwide character of

Plaintiffs’ claims, analyzes Plaintiffs’ allegations as actually pled, tallies them up by location,

and identifies a large list of potential witnesses and witness locations. This analysis and witness

identification confirms that the interest of justice and convenience of the parties favor transfer.

See Devaughn v. Inphonic, Inc., 403 F. Supp. 2d 68, 72-73 (D.D.C. 2005) (finding transfer


                                                 2
              Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 7 of 18




appropriate where the events and witnesses related to a plaintiff’s claims were located in the

transferee forum). Plaintiffs also oddly claim that their own locations are essentially irrelevant

for purposes of transfer analysis, suggesting that they possess little if any information regarding

this case. See Opposition at 5-6. But Plaintiffs themselves must ultimately testify regarding their

injuries and the facts relevant to their claims. And the caselaw regarding transfer places special

emphasis on Plaintiffs’ home forum. See Bergmann v. U.S. Dept. of Transp., 710 F. Supp. 2d 65,

71-72 (D.D.C. 2010). In the end, the private and public interest factors confirm that the Court

should transfer this case to the Eastern District of Michigan. See Devaughn, 403 F. Supp. 2d at

72-73.

         a.       Plaintiffs’ Actual Allegations State Almost No Connections Between this Case
                  and Washington, D.C.

         Seeking to bolster the tenuous connection between this lawsuit and Washington, D.C.,

Plaintiffs’ Opposition repeatedly cites to allegations that do not appear in the Amended

Complaint or are untrue or irrelevant to Plaintiffs’ claims. For example, Plaintiffs allege for the

first time in their Opposition that President Trump, the Trump campaign, and the RNC

“coordinated their efforts” from Washington. Opposition at 2. But Plaintiffs never made this

allegation in their Amended Complaint, never identify any individuals associated with the Trump

campaign or RNC involved in these efforts, and never identify any specific meetings or activities

related to these efforts. Plaintiffs also repeatedly point out that President Trump used to live in

Washington, D.C. See, e.g., id. at 2, 6, 15. True, but Plaintiffs have failed to identify any specific

evidence or witnesses located there. Plaintiffs also erroneously claim that the Trump campaign

“had substantial operations in Washington, D.C.” Id. at 2. In fact, the campaign is headquartered

in New York. Mem. in Support at 2. And finally, while the RNC is headquartered in

Washington, D.C., very few if any relevant witnesses for the RNC reside there. Id. at 3-6.



                                                  3
         Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 8 of 18




        Highlighting the dearth of alleged events in this district, the Opposition cites to a single

paragraph in the Amended Complaint to support its threadbare assertion that Defendants’ alleged

conduct included “a variety of activities in and related to Washington, D.C.” Opposition at 2.

That paragraph concerns the alleged activities of an individual, Rudy Giuliani, who is not a party

to this case. And in the same sentence, Plaintiffs cite to numerous paragraphs in their Amended

Complaint that contain allegations that occurred in numerous other states, including more than

fifteen paragraphs in their Amended Complaint that contain allegations related to Michigan. Id.

        Plaintiffs’ Opposition next tries to effectively amend the complaint again to add in the

allegation that a number of Defendants’ actions occurred “in the District of Columbia.” Id. This

amendment-via-Opposition is improper and should be rejected. See Olde Monmouth Stock

Transfer Co., Inc. v. Depository Trust & Clearing Corp., 485 F. Supp. 2d 387, 393 (S.D.N.Y.

2007) (“[P]arties cannot amend their pleadings through issues raised solely in their briefs.”);

Abusadeh v. Chertoff, No. 06-2014 (CKK), 2007 WL 2111036, at *7 (D.D.C. 2007). None of the

allegations cited by Plaintiffs were actually pled as occurring in Washington, D.C., and a good

number of the paragraphs in the Amended Complaint cited by Plaintiffs contain allegations that

occurred elsewhere. See, e.g., Am. Compl. ¶¶ 26-32. And even if the events underlying the

allegations actually occurred in Washington, D.C., the evidence and witnesses associated with

those allegations can now be found in other districts, as more fully discussed in the RNC’s

Motion. Mem. in Support at 3-6. And while the RNC agrees with Plaintiffs that the allegations in

the Amended Complaint concern multiple states including Michigan, see Opposition at 3,

Plaintiffs nowhere allege that Defendants’ training or fundraising activities occurred in

Washington, D.C. Thus the Court should reject Plaintiffs’ post-hoc attempt to tie Defendants’

alleged conduct to this district.




                                                 4
           Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 9 of 18




       Plaintiffs point to only two events that allegedly occurred in Washington, D.C. to buttress

their Opposition, but neither alleged event, assumed to be true for purposes of this analysis, cuts

against transfer. First, Plaintiffs cite an alleged meeting between President Trump and Michigan

lawmakers, see Opposition at 3, but President Trump no longer lives in Washington, D.C., and

the Michigan lawmakers who allegedly attended that meeting reside in Michigan, providing

further support for transfer. Second, Plaintiffs point to a press conference held by Rudy Giuliani

at the RNC’s headquarters in the District of Columbia, see id. As previously mentioned, Mr.

Giuliani is not a defendant in this case, and Plaintiffs have failed to identify a single Washington,

D.C.-based witness or piece of evidence related to this event that would plausibly be relevant to

their claims.

       In their most brazen attempt to defeat the RNC’s Motion by dressing up the Amended

Complaint with brand new allegations related to Washington, D.C., Plaintiffs cite to new facts

contained in multiple news articles never mentioned in the Amended Complaint. See Opposition

at 3-4, 9. Plaintiffs may move for leave to amend their complaint a second time to add these

allegations if they wish, but they may not add these facts to the four corners of the Amended

Complaint by simply citing them in their Opposition. See Olde Monmouth Stock Transfer Co.,

485 F. Supp. 2d at 393, Abusadeh, 2007 WL 2111036 at *7; Aracely, R., et al. v. Nielsen, 319 F.

Supp. 3d 110, 129 (D.D.C. 2018). And these new facts certainly cannot be used to defeat the

RNC’s Motion.

      b.         The Private Interest Factors Favor Transfer

            i.    No Significant Events Giving Rise to Plaintiffs’ Claims Occurred in
                  Washington, D.C.

       Plaintiffs contend that they have alleged that Defendants’ efforts “were developed in and

directed from Washington, D.C.” and that Defendants ignore these allegations. Opposition at 6-

7. Plaintiffs are wrong on both counts. As discussed above, Plaintiffs never alleged that

                                                 5
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 10 of 18




Defendants’ actions were somehow centered in Washington, D.C. in their Amended Complaint,

making this allegation for the first time in their Opposition. Their late attempt to bootstrap the

stray Washington, D.C.-related allegations to their Amended Complaint and argue that the events

giving rise to their claims are centered in Washington, D.C. is disingenuous. Indeed, Plaintiffs

cite only three paragraphs from the Amended Complaint in support of their position. Opposition

at 7. And Defendants have hardly ignored these sparse allegations, tallying them up and

comparing them to the much larger number of Plaintiffs’ own allegations that occurred in the

Eastern District of Michigan. See Mem. in Support at 5-6 (showing that Michigan has almost ten

times the number of allegations as Washington, D.C.). Regarding the allegations themselves,

Defendants again point out that while President Trump may have been in Washington, D.C.

during the time of his alleged statements, invitations, and phone calls, he did not and does not

reside there. And few if any witnesses associated with the alleged press conference at RNC

headquarters are located in Washington, D.C.

       Notwithstanding Plaintiffs’ recent contentions, the majority of the alleged events

underlying Plaintiffs’ claims occurred in Michigan. See Mem. in Support at 2-6, 8-10. Almost all

Plaintiffs reside in Michigan, the individual Plaintiffs voted there, and the other Plaintiffs have

members who voted there. See, e.g., Am. Compl. ¶¶ 7-12. Plaintiffs contend that Defendants’

actions in the days immediately following the 2020 General Election ultimately harmed Plaintiffs

and their members in Michigan. See, e.g., id. ¶¶ 7-12, 80, 83-85. Plaintiffs also claim that the

actions of Defendants and their supporters in Michigan harmed Plaintiffs and form the basis for

Plaintiffs’ claims in this case. See, e.g., id. ¶¶ 33, 34, 35, 38. Plaintiffs use eight paragraphs of

their Amended Complaint to describe events alleged to have occurred in Wayne County,

Michigan, relating to the certification of the vote in that county. See id. ¶¶ 41-47, 49. Plaintiffs

also allege that fundraising dollars were directed to the Michigan Republican Party and that one


                                                 6
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 11 of 18




Defendant produced and distributed training materials in Michigan. See id. ¶¶ 64, 68. And

Plaintiffs allege that Defendants’ actions underlying Plaintiffs’ claims were “directed at” Detroit.

Id. ¶ 78. These allegations are greater in number and substance than those related to Washington,

D.C. and confirm that the case should be transferred to the Eastern District of Michigan.

       Plaintiffs’ arguments based on Aracely, R., et al. v. Nielsen, 319 F. Supp. 3d 110 (D.D.C.

2018) and Accurso v. Fed. Bureau of Prisons, Case No. 17-CV-02626 (APM), 2018 WL

4964501 (D.D.C. Oct. 15, 2018), see Opposition at 7-8, are unpersuasive. In Aracely, the court

found that plaintiffs’ claims arose in Washington, D.C. because plaintiffs were “challenging the

application of a purported policy that supposedly emanated from an agency located in the

District of Columbia.” 319 F. Supp. 3d at 129. Here, by contrast, Plaintiffs do not challenge any

general governmental policy that was developed and promulgated in Washington, D.C. and then

applied without discretion across the United States. Rather, Plaintiffs complain of specific

actions and statements by private actors made in their own discretion apart from any government

dictate. And as discussed above and in the RNC’s Motion, a large majority of Plaintiffs’ core

allegations concern events that arose in the Eastern District of Michigan, where Plaintiffs reside

and vote, and where, as discussed above, a majority of the alleged events underlying Plaintiffs’

claims took place. The Aracely court also confirmed that allegations raised in briefing but not in

a complaint cannot “sustain venue in the District when the plaintiff’s core allegations” relate to

activities in another venue. Id. The Court should thus give no weight to Plaintiffs’ attempts to

inject new allegations and theories into this case via their Opposition.

       In Accurso, the court denied a transfer motion where plaintiffs challenged a national

policy promulgated from Washington, D.C. and applied by local officials with zero discretion.

2018 WL 4964501, at *2. Here, by contrast, Plaintiffs challenge numerous discretionary actions

by entities and individuals domiciled outside Washington, D.C., and Plaintiffs do not challenge


                                                 7
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 12 of 18




any policies developed in Washington, D.C. and applied nationwide. Instead, Plaintiffs’ core-

pled allegations involve Plaintiffs’ voting activities in Michigan and other states, Defendants’

activities across the country related to voting, and the actions of public and private actors outside

of Washington, D.C. There is no challenge to a centrally promulgated government policy in this

case and thus Accurso is inapposite.

       To summarize, both Aracely and Accurso involved challenges to rote applications of

national policies promulgated from Washington, D.C. The courts in those cases reasoned that a

single private interest factor—where a claim arises—weighed against transfer because the

plaintiffs challenged policies developed in Washington, D.C. by national policymakers located

there. Plaintiffs in this case, by contrast, have not sued a single government entity, and instead

challenge discretionary statements and actions by private actors that allegedly occurred in a

number of states and impacted Plaintiffs’ and their members’ voting rights, according to the

pleadings. Neither case is analogous to this case. Finally, even if Plaintiffs were correct

regarding their reading of these cases, the most important private interest factor is the

convenience of the witnesses, which weighs in favor of transfer in this case. See Pyrocap Int’l.

Corp. v. Ford Motor Co., 259 F. Supp. 2d 92, 97 (D.D.C. 2003); Mem. in Support at 9-10.

       Plaintiffs also fail to distinguish this case from Bergmann v. United States Department of

Transportation, 710 F. Supp. 2d 65 (D.D.C. 2010) and Hi Tech Pharmaceuticals, Inc. v. Federal

Trade Commission, 6 F. Supp. 3d 95 (D.D.C. 2013). Opposition at 8-9. Both cases stand for the

uncontroversial principle that transfer is appropriate where a lawsuit has almost no connection to

the lawsuit’s current venue. See Bergmann, 710 F. Supp. 2d at 73; Hi Tech, 6 F. Supp. 3d at 100.

Suing an entity with headquarters in Washington, D.C. does not preclude the grant of a motion to

transfer where, as here, a large majority of the relevant events giving rise to a plaintiffs’ claims

occurred outside the District of Columbia. And notwithstanding Plaintiffs’ claim that they “have


                                                 8
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 13 of 18




alleged that the District of Columbia was the operational center of Defendants’ scheme,”

Opposition at 8—a bare allegation that appears nowhere in their Amended Complaint—

Plaintiffs’ claims arose in Michigan. Finally, that Plaintiffs’ allegations involve multiple states

does not somehow weigh against transfer in this case. As Defendants have shown, see Mem. in

Support at 5-6, the large majority of events giving rise to Plaintiffs’ claims occurred in Michigan,

which weighs in favor of transfer. See Winmar Construction, Inc. v. JK Moving & Storage, Inc.,

291 F. Supp. 3d 88, 93 (D.D.C. 2018).

          ii.   The Convenience of the Parties and Witnesses Strongly Supports Transfer

       Plaintiffs contend that convenience weighs against transfer, arguing that “much of

Defendants’” alleged conduct was based in Washington, D.C. See Opposition at 10. This

argument fails because almost all of the material witnesses, including many of the Plaintiffs as

well as the relevant evidence, are located in the Eastern District of Michigan. See Mem. in

Support at 5-6, 9-10. Indeed, Plaintiffs failed to identify a single potential witness located in this

district. “The most critical factor to examine under 28 U.S.C. § 1404(a) is the convenience of the

witnesses.” Pyrocap, 259 F. Supp. 2d at 97 (quoting Chung v. Chrysler Corp., 903 F. Supp. 160,

164 (D.D.C. 1995)). And Defendants have identified numerous witnesses and evidence located

in the Eastern District of Michigan. Thus, the convenience factors weigh in favor of transfer.

       Plaintiffs cite Accurso, Aracely, and Garcia v. Acosta, 393 F. Supp. 3d 93 (D.D.C. 2019),

to support their argument regarding the convenience factors, see Opposition at 10, but those

cases are inapposite. Each of those cases dealt with a single national policy promulgated from

Washington, D.C. and applied without discretion in certain states. The national policymakers in

those cases were identified as relevant witnesses located in Washington, D.C. Here, Plaintiffs

challenge statements and actions by individuals and organizations located across the country. See

Mem. in Support at 3-6.


                                                  9
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 14 of 18




       Plaintiffs next “presume[]” that witnesses and evidence are located in Washington, D.C.

because one Defendant is headquartered there and other Defendants “operated” from there at

some point. Opposition at 11. To put it bluntly: Plaintiffs’ presumption is wrong and

contradictory to their own Amended Complaint. Defendants have previously explained that a

majority of the relevant witnesses and evidence regarding Plaintiffs’ claims are located in

Michigan. See Mem. in Support at 3-6. And while Plaintiffs allege for the first time in their

Opposition that there was some type of systemic or coordinated effort by Defendants emanating

from a COVID-shuttered 2020 Washington, that allegation is found nowhere in the Amended

Complaint. It thus carries little if any weight for purposes of the relevant transfer analysis. See

Aracely, 319 F. Supp. 3d at 129. Finally, Plaintiffs’ claims that “material witnesses and evidence

concerning” certain RNC activities are located in Washington, D.C. and that “there will be

documents and key witnesses located at the RNC’s headquarters in the District of Columbia” are

pure conjecture. Opposition at 11, 13. The RNC has identified the location of numerous potential

witnesses and relevant evidence in its Motion based on a fair reading of Plaintiffs’ Amended

Complaint, and none of these witnesses or evidence is located in Washington, D.C.

       Much as they try, Plaintiffs, almost all of whom are located in Michigan, cannot

minimize their own potential, relevant testimony and evidence. See Opposition at 12-13.

Plaintiffs will need to testify and provide evidence regarding, among other things, voting-related

matters, injury, Plaintiffs’ interactions with Defendants, Plaintiffs’ interactions with state and

local officials, and diversion of resources. The individuals providing the relevant testimony and

evidence are located in Michigan. Further, contrary to Plaintiffs’ assertions, Defendants have

confirmed that their relevant state and regional staff and volunteers reside in Michigan or nearby

states and have made clear that the relevant state and local election officials also reside in

Michigan. See Mem. in Support at 3-6. The level of specificity provided by Defendants is


                                                10
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 15 of 18




perfectly adequate to support the RNC’s Motion, and Plaintiffs cite no caselaw to the contrary.

Further, no party to this case has identified a single witness residing in Washington, D.C. or a

single piece of evidence located there. Finally, the Court should transfer the case given the fact

that numerous relevant witnesses are located in Michigan and may not be subject to the subpoena

power of the transferor court. See Pyrocap, 259 F. Supp. 2d at 98.

       The availability in Michigan of the fact witnesses identified by Defendants, which is the

most important factor in a Section 1404(a) analysis, strongly weighs in favor of transfer. The

Court should disregard Plaintiffs’ conjecture regarding the location of relevant witnesses and

evidence and transfer the case for the convenience of the parties and witnesses.

         iii.   Plaintiffs’ Forum Choice Is Not Entitled To Deference

       Plaintiffs contend that their choice of forum is entitled to deference because one Plaintiff

has members who reside in Washington, D.C. and because this lawsuit has meaningful ties there.

Opposition at 14-16. But Washington, D.C. is clearly not the home forum for the NAACP, which

is headquartered in Baltimore, and the Eastern District of Michigan is the home forum for the

other Plaintiffs. See Bergmann v. U.S. Dept. of Transp., 710 F. Supp. 2d 65, 71-72 (D.D.C. 2010)

(Sullivan, J.) (“Substantially less deference is warranted, however, when a plaintiff chooses a

forum other than his home forum.”). Further, when “the forum preferred by the plaintiff is not

his home forum,” and the defendant prefers the plaintiff’s home forum, then there is little reason

to defer to the plaintiff’s preference. See Reiffin v. Microsoft Corp., 104 F. Supp. 2d 48, 52

(D.D.C. 2000). And as discussed above, this litigation has almost no connection to Washington,

D.C. Thus, Plaintiffs’ forum choice is entitled to no deference.

       Plaintiffs’ reliance on Jalloh v. Underwood, 300 F. Supp. 3d 151 (D.D.C. 2018), is

misplaced, as that case involved a sequence of events that started in Washington, D.C. and ended

in Maryland. As Plaintiffs acknowledge, the defendant in Jalloh was first approached by police


                                                11
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 16 of 18




in Washington, D.C., which the court ultimately found created meaningful ties to the District.

300 F. Supp. 3d at 156. Here, by contrast, few, if any, relevant witnesses reside in Washington,

D.C. And despite Plaintiffs’ late attempts to fill in the gaps in their Amended Complaint with

allegations related to Washington, D.C., a large majority of the allegations and events underlying

Plaintiffs’ claims in the Amended Complaint took place in Michigan.

       Plaintiffs’ attempt to distinguish Beall v. Edwards Lifesciences LLC, 310 F. Supp. 3d 97

(D.D.C. 2018), see Opposition at 15-16, fails because both the RNC and the Trump campaign

have confirmed that they have strong ties to the proposed transferee forum. See Mem. in Support

at 3-6, 8-10. And Plaintiffs are wrong to suggest that this case is somehow distinguishable from

Dean v. Eli Lilly & Co., 515 F. Supp. 2d 18 (D.D.C. 2007), see Opposition at 16. Here, as in

Dean, no Plaintiff resides in Washington, D.C., almost all the Plaintiffs reside in the transferee

forum, and most of the relevant events occurred in that forum. Finally, Plaintiffs’ attempt to

distinguish Bergmann and other similar cases, see Opposition at 15 n.9, fall flat because, as more

fully discussed in the RNC’s moving papers, a significant number of the events giving rise to

Plaintiffs’ claims occurred in the proposed transferee venue. See Mem. in Support at 5-6, 8-10.

      c.      The Public Interest Factors Favor Transfer

       Plaintiffs never dispute the RNC’s argument that the first two public interest factors do

not weigh against transfer, contending only that the third public interest factor weighs against

transfer because “it is simply not true that the weight of key events occurred in the Eastern

District of Michigan.” Opposition at 17-18. But as discussed more fully in Defendants’ Motion

and in this Reply, the Amended Complaint cites actions by numerous Michiganders, including

state and local officials and volunteers as well as RNC and Trump campaign representatives and

volunteers, in support of its claims.




                                               12
       Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 17 of 18




                                           CONCLUSION

       For the foregoing reasons and those discussed in Defendant RNC’s opening

memorandum in support of this motion, the Court should grant the RNC’s Motion.



Dated: March 2, 2021                                Respectfully submitted,

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                                            13
        Case 1:20-cv-03388-EGS Document 26 Filed 03/02/21 Page 18 of 18




                                 CERTIFICATE OF SERVICE

       I certify that on March 2, 2021, I electronically filed the foregoing Memorandum of Law

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel and parties of record.


Dated: March 2, 2021                         /s/ Harmeet K. Dhillon
                                            Harmeet K. Dhillon
                                            Counsel for Republican National Committee
